WORTHE HANSON & WORTHE
1851 EAST FIRST ST., SUITE 400
SANTA ANA, CALIFORNIA 92705

Case||2:20-cv-05554-RSWL-AGR Document1 Filed 06/23/20 Pageiofé Page ID #:1

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6
Attorneys for Defendant, UNITED AIRLINES, INC.
if
8 UNITED STATES DISTRICT COURT
9 FOR THE STATE OF CALIFORNIA, CENTRAL DISTRICT
10 || JOHN DOE 1, an individual; and JOHN DOE2, ) USDC Case No.:
an individual ) [LASC Case No. 20STCV18888]
1] )
Plaintiff, )
12 ) NOTICE OF REMOVAL OF
V. ) ACTION UNDER 28 U.S.C.
13 )  §1446(b) and 28 U.S.C. §1332(a)
UNITED AIRLINES, INC., An Illinois )
14 || Corporation; ROE 1, an individual; ROE 2, an )
individual; ROE 3, an individual; and ROES 4 )
15 | through 50, inclusive. )
)
16 Defendants. )
) Complaint Filed: 5/18/2020
17 )
)
18
19 JURISDICTION of this Court is invoked on the basis of diversity of

20 || citizenship and pursuant to 28 U.S.C. §1332, and 28 U.S.C. §1446.
Zl
22 TO THE CLERK OF THE ABOVE-ENTITLED COURT:

23 PLEASE TAKE NOTICE that Defendant, UNITED AIRLINES INC., hereby
24 || removes to this Court the State Action described below.

25 l. Defendant, UNITED AIRLINES, INC., hereby invokes the jurisdiction of
26 || this Court based upon the provisions of 28 U.S.C. §1332 and 28 U.S.C. §1446, on the
27 || basis of diversity of citizenship.

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NOTICE OF REMOVAL OF ACTION

 

 
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Case

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2. On May 18, 2020, an action was commenced in the Superior Court of the
State of California in and for the County of Los Angeles, entitled “ohn Doe 1, an
individual; and John Doe 2, an individual v. United Airlines, Inc., et al.,” bearing
Case No. 20STCV18888. A copy of Plaintiffs’ Complaint is attached as Exhibit
“A”

3 On May 26, 2020, Plaintiffs’ counsel served the Summons and
Complaint. A copy of the Service of Process Transmittal is attached hereto as
Exhibit “B.”

4, Pursuant to 28 U.S.C. §1446(b), defendant has thirty (30) days from the
date it received the Plaintiffs’ Complaint, to and including June 25, 2020 to remove
this matter to the United States District Court for the Central District of California,
since the Complaint is “other paper from which it may first be ascertained that the
case is removable on the basis of jurisdiction conferred by Section 1332 of this
Title...”

5. On May 20, 2020, plaintiffs caused to be filed a First Amended
Complaint. A copy of the First Amended Complaint is attached hereto as Exhibit
“Cc”

6. Currently there is no paper specifically alleging the amount in
controversy. However, counsel for Plaintiffs made a written confidential settlement
demand to United for Doe 1's claim well in excess of $75,000. Due to the
confidentiality of the settlement demand for Doe 1, United does not attach it to this
removal. Yet, if the Court requires additional evidence that the amount in
controversy exceeds $75,000, United is able to provide the document under seal or
for in camera review by the Court.

Generally, a removing defendant must prove by a preponderance of the evidence
that the amount in controversy satisfies the jurisdictional threshold. Gug/ielmino v.
McKee Foods Corp., 506 F.3d 696, 699 (9th Cir. 2008). While the defendant must

“set forth the underlying facts supporting its assertion that the amount in controversy
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exceeds the statutory minimum,” the standard is not so taxing so as to require the
defendant to “research, state, and prove the plaintiff's claims for damages.” Coleman
v. Estes Express Lines, Inc., 730 F. Supp. 2d 1141, 1148 (C.D. Cal. 2010).

It is settled law that the Court may consider emotional distress, attorneys’ fees
and punitive damages in ascertaining the amount in controversy even when the
plaintiff does not specify an amount in his complaint. Accord Richmond vy. Allstate
Ins. Co. (S.D. Cal. 1995) 897 F. Supp. 447, 450. (“The vagueness of plaintiffs’
pleading with regard to emotional distress damages should not preclude this Court
from noting that these damages are potentially substantial.”) Plaintiffs’ Complaint
does not precisely state the amount of claimed damages. However, Plaintiffs seek
treble damages, attorneys’ fees and punitive damages in addition to their claim for
economic and noneconomic damages. (Complaint at p. 22.) Additionally, Doe 1
made a confidential settlement demand in excess of $75,000. Based upon the
foregoing and Plaintiffs’ allegations of discrimination, intentional infliction of
emotional distress and negligence, the amount in controversy exceeds $75,000.

7, Defendant is informed and believes that Plaintiff, Doe | resides in the city
of Hazlet, County of Monmouth, State of New Jersey, was, and still is, a citizen of the
State of New Jersey.

8. Defendant is informed and believes that Plaintiff, Doe 2 resides in the
City of Philadelphia, County of Philadelphia, State of Pennsylvania, was, and still is,
a citizen of the State of Pennsylvania.

9. Defendant, United Airlines, Inc., was, at the time of the filing of this
action, and still is, incorporated under the laws of the State of Delaware, having its
principal place of business in the City of Chicago, within the State of Illinois.

10. This action is a civil action of which this Court has original jurisdiction
under 28 U.S.C. §1332, and is one which may be removed to this Court by Defendant
pursuant to the provisions of 28 U.S.C. §1332(a), in that it is a civil action wherein

the matter in controversy exceeds the sum of $75,000.00, and is between citizens of

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NOTICE OF REMOVAL OF ACTION

 
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different states.

11. Accordingly, the United States District Court for the Central District of

California has diversity jurisdiction, and thi
28 U.S.C. §1332(a), et seq.
DATED: June 23, 2020

By:

4

s action is properly removed pursuant to

WORTHE HANSON & WORTHE

/s/ Todd C. Worthe
TODD C. WORTHE, ESQ.
MACKENZIE C. FOELLMER, ESQ.
Attorneys for Defendant, UNITED
AIRLINES INC.

 

NOTICE OF REMOVAL OF ACTION

 
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Case

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PROOF OF SERVICE
STATE OF CALIFORNIA)
)ss
COUNTY OF ORANGE)

| am employed in the County of Orange, State of California. | am over the age of 18 and not a
party to the within action. My business address is 1851 East First Street, Ninth Floor, Santa Ana,
California 92705.

On June 23, 2020, I served the foregoing document described as: NOTICE OF REMOVAL
OF ACTION UNDER 28 U.S.C. SECTION 1446(b) AND 28 U.S.C. SECTION 1332(a) to all
interested parties in said action by:

O BY FACSIMILE TRANSMISSION from FAX No. (714)285-9700 to the FAX number(s)
listed below. The facsimile machine I used complied with Rule 2003(3) and no error was report by
the machine. Fax Number(s):

O BY PERSONAL SERVICE as follows: I caused such envelope to be delivered by hand to the
offices of the addressee.

O BY ELECTRONIC SERVICE at the electronic mail address stated on the attached Service
List

= BY MAIL as follows:

placing U the original & a true copy thereof in a sealed envelope addressed as stated

on the ATTACHED MAILING LIST.

I deposited such envelope in the mail at Santa Ana, California. The envelope was

mailed with postage thereon fully prepaid.

Iam "readily familiar" with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with U.S. postal service on
that same day with postage thereon fully prepaid at Santa Ana, California in the ordinary course of
business. | am aware that on motion of party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one (1) day after date of deposit for mailing in
affidavit.

O BY OVERNIGHT DELIVERY (FEDERAL EXPRESS): I deposited such an envelope ina
box or other facility regularly maintained by express service carrier, or delivered to an authorized
courier or driver authorized by the express service carrier to receive documents in an envelope or
package designated by the express service carrier with delivery fees paid or provided for, addressed
to the person on whom it is to be served as indicated on the attached Service List, at the office
address as last given by that person on any document filed in the case and served o the party making
service.

O STATE - I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

FEDERAL - I declare that I am employed in the office of a member of the bar
of this court at whose direction the service was made.

Executed on June 23, 2020, at Santa Ana, California.

Gra fobs

GINX M. FISHER

PROOF OF SERVICE

 
WORTHE, HANSON & WORTHE
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Casel|l2:20-cv-05554-RSWL-AGR Document1 Filed 06/23/20 Page 6of6 Page ID #:6

1 SERVICE LIST

John Doe 1; John Doe 2 v. United Airlines Inc., et al.
2 USDC CASE NO. Unassigned

[LASC Case No. 20STCV18888]

4 || Darren D. Darwish, Esq.

The Darwish Law Firm, APC

5 || 12301 Wilshire Blvd., Ste. 520

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6 || (424) 369-5353 Office

ATTORNEY FOR PLAINTIFFS, JOHN DOE 1 AND JOHN DOE 2

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